               Case 3:17-cv-05806-RJB Document 137 Filed 10/15/18 Page 1 of 2



1
2
3
4                               UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF WASHINGTON
5                                        AT TACOMA
6
7      STATE OF WASHINGTON,
8                                                        CASE NO.
                                        Plaintiff (s),   3:17−cv−05806−RJB
9                            v.
                                                         MINUTE ORDER SETTING TRIAL
10                                                       AND PRETRIAL DATES
       THE GEO GROUP INC,
11
12                                   Defendant (s).

13    TEN DAYS JURY TRIAL set for                                                 June 17, 2019
                                                                                  at 09:30 AM
14
      Deadline for the FILING of any motion to join parties
15    Disclosure of expert testimony under FRCP 26(a)(2)
16    All motions related to discovery must be FILED by                           February 25, 2019
17    Discovery COMPLETED by                                                      March 15, 2019

18    All dispositive motions must be FILED by                                    April 3, 2019
      Motions in limine should be FILED by and NOTED on the                       May 20, 2019
19      motion calendar no later than the third Friday thereafter,
        but no later than the Friday before any scheduled
20      pretrial conference.
21    Agreed pretrial order LODGED with the court by                              May 31, 2019
22    Pretrial conference will be HELD on                                         June 7, 2019
          (COUNSEL SHALL REPORT TO COURTROOM A)                                   at 08:30 AM
23
      Trial briefs, proposed voir dire & jury instructions due * June 7, 2019
24          *JURY INSTRUCTIONS See Local Civil Rule LCR51. A Manual of Model Civil
25   Jury Instructions For the Ninth Circuit − Latest Edition should be used as the format for
26   proposed jury instructions. See www.wawd.uscourts.gov.

     Minute Order Setting Trial, Pretrial Dates and Ordering Mediation − Page 1
               Case 3:17-cv-05806-RJB Document 137 Filed 10/15/18 Page 2 of 2



1           PROPOSED FINDINGS OF FACT AND CONCLUSIONS OF LAW need not be
2    submitted unless specifically requested by the Judge.
3           If any of the dates identified in this Order or the Local Civil Rules fall on a
4    weekend or federal holiday, the act or event shall be performed on the next business day.
5    These are firm dates that can be changed only by order of the Court.
6           If this case is settled, please advise Tyler Campbell, Courtroom Deputy to Judge
7    Bryan, immediately at (253) 882−3822. If this case is not settled, it will go to trial on the
8    date set or as soon thereafter as the court is available.
9
10          DATED: October 15, 2018
11
12          The foregoing Minute Order entered by /s/ Tyler Campbell Deputy Clerk, BY
13   DIRECTION OF THE HONORABLE ROBERT J. BRYAN, UNITED
14   STATES DISTRICT JUDGE.
15
16
17
18
19

20
21
22
23
24

25
26

     Minute Order Setting Trial, Pretrial Dates and Ordering Mediation − Page 2
